Case 1:04-cv-01186-.]DT-STA Document 21 Filed 06/09/05 Page 1 of 3 Page|D 27

IN THE UNITED STATES DIS'I`RICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

HENRY ALEXANDER, individually and
as next of friend of JAMIE
ALEXANDER, DAULTON
ALEXANDER, JUSTIN ALEXANDER,
and HUNTER ALEXANDER; and
CRYSTAL ALEXANDER, individually,
and as next of friend of JAMIE
ALEXANDER, DAULTON

ALEXANDER, IUSTIN ALEXANDER,
and HUNTER ALEXANDER,

Plaintiffs,

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VS. NO. l-04-1186-T/An
DURLEY GENE JOHNSTONE,

individually and d/b/a ROLLING ACRES
MOBILE ESTATES and RUTH

COLLINS, individually and as agent
and/or manager for DURLEY GENE

JOHNSTONE, dfb/a ROLLING ACRES
MOBILE ESTATES,

Defendants.
CONSENT ORDER OF DISMISSAL WITH PREJUDICE

IT APPEARING to the Court from statement of counsel and the record as a whole that

the issues herein are resolved and the matter should be dismissed With prejudice

lT IS, THEREFORE, ORDERED, ADIUDGED, AND DECREED by the Court that this

matter be and it is hereby ordered dismissed with prejudice

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DATE

APPROVED FOR ENTRY:

 

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CAROL GisH (#010231) ’
Counsel for Plaintiffs
West Tennessee Legal Services, Inc.
210 West Main St.
Jackson, TN 38301
(731) 423-0616

il 131

JAMES F.f sUMMERs (#47'21)
Couns"'el tjh‘ Defendants

80 Monroe Avenue, Suite 650
Memphis, Tennessee 38103
(901) 763-4200

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This notice confirms a copy of the document docketed as number 21 in
case 1:04-CV-01186 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

Carol Gish

WEST TENNESSEE LEGAL SERVICES7 INC.
210 West Main St.

Jackson, TN 38301

J ames B. Sumrners

ALLEN SUl\/[MERS SIMPSON LILLIE & GRESHAl\/l7 PLLC
80 l\/lonroe Ave.

Ste. 650

1\/lemphis7 TN 38103--246

Honorable J ames Todd
US DISTRICT COURT

